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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS
VITA 4 LIFE, INC.,

                    Plaintiff,                                  Case No. 17-cv-11435
v.                                                              Hon. Denise J. Casper


CYNOSURE, INC.,

                    Defendant.

               MOTION TO WITHDRAW AS COUNSEL FOR DEFENDANT

       NOW COMES Attorney, Albert M. Bower, and hereby requests that this Honorable

Court enter an Order granting him leave to withdraw as counsel for Defendant, Cynosure, Inc.

(hereinafter, “Defendant”). In support thereof, Attorney Bower states:

       1.       On September 15, 2017, Albert M. Bower was granted leave to appear, pro hac

vice, as counsel for Defendant, Cynosure, Inc., in this matter. (Dkt. #27).

       2.       Albert M. Bower’s appearance in this matter is no longer required.

       3.       Granting the instant motion will not cause prejudice to the Court or to any party,

and Defendant will have legal representation at all times in this matter.

       WHEREFORE, Attorney, Albert M. Bower, respectfully requests that this Honorable

Court enter an Order granting him leave to withdraw as counsel for Defendant, Cynosure, Inc.



Date: January 24, 2018

                                                      Respectfully submitted,

                                              By:   /s/ Albert M. Bower
                                              Counsel for Defendant, CYNOSURE, INC.
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                             CERTIFICATE OF SERVICE

       The undersigned certifies that on January 24, 2018, a true and correct copy of the
foregoing Motion to Withdraw as Counsel for Defendant was filed with the Clerk of Court
and served upon all attorneys of record via the Court’s CM/ECF system.

Dated: January 24, 2018

                                                             /s/ Albert M. Bower




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